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                                EXHIBIT C
    Case 1:17-mc-00151-LPS Document 564-3 Filed 05/24/23 Page 2 of 6 PageID #: 14790


                                                                  No. 1375812


               THE PEOPLE OF THE STATE OF NEW YORK

               BY THE GRACE OF GOD FREE AND INDEPENDENT




To all to whom these Presents may come, GREETING:



                           KNOW YE : That we have inspected the files and records in the
                            office of the Clerk of the County of New York, at Manhattan, in
                            County, and do find a certain
                               JUDGMENT MONEY-




                             remaining there on file or on record in the words and figures
                           following, to wit:
     Case 1:17-mc-00151-LPS Document 564-3 Filed 05/24/23 Page 3 of 6 PageID #: 14791


                                                                 No. 1375811




                                     Certification


                STATE OF NEW YORK, COUNTY OF NEW YORK, SS:


I, Milton Adair Tingling, County Clerk and Clerk of Supreme Court New York County,

            do hereby certify that on October 25, 2022 I have compared

                            the document attached hereto,

                            JUDGMENT MONEY page(s) 2
                                         -




      with the originals filed in my office and the same is a correct transcript

               therefrom and of the whole of such original in witness

                    whereto I have affixed my signature and seal.




                                MILTON ADAIR TINLlNG
                              NEW YORK COUNTY CLERK
    Case 1:17-mc-00151-LPS Document 564-3 Filed 05/24/23 Page 4 of 6 PageID #: 14792
IYSCErDocSo           56                                 0                                R1Ltt1VtV     NCtr;      jo/3v/LUj




      SUPREME COURT OF THE STATE OF NEW YORK
      COUNTY OF NEW YORK
                                                                      x
       REFINERIA DI KORSOU NY.,                                           Index No, 654058/2020

                                            Plaintiff,                    lAS Part 48
                                                                          Justice Andrea Masley
                           -against-   -




                                                                          JUDGMENT
       PETROLEOS DE VENEZUELA S.A.,

                                            Defendant.
                                                                      x
                WHEREAS, this action was commenced by plaintiff Refineria Di Korsou N.y.

      (“Plaintiff’) by filing a Summons & Complaint on August 26, 2020 against defendant Petroleos

      De Venezula SA. (“Defendant”); and

                WHEREAS, Plaintiff having filed proof of service of the Summons & Complaint on

      January 20, 2021; and

                WHEREAS, Plaintiff having filed a motion for default judgment against Defendant on

      August 23, 2021.; and

                WHEREAS, the Court having rendered an Order (Masley, J.) entered on December 8,

      2021, denying Plaintiffs motion for a default judgment; and

                WHEREAS, a motion to reargue andlor vacate (the “Motion”) having been filed by

      Plaintiff seeking to reargue andlor vacate the prior order of the Court denying the motion for a

      default judgment against Defendant; and

                WHEREAS, Defendant having not filed any opposition to the Motion; and

                WHEREAS, the Court (Masley, J.) having rendered              written Decision   +   Order on the

      Moticin dated July 15, 2022 and entered July 18, 2022 (the “Decision and Order”); granting




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                                                         1   of   2
            Case 1:17-mc-00151-LPS Document 564-3 Filed 05/24/23 Page 5 of 6 PageID #: 14793
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If)
cc
                                                                                                              a
              Plaintiffs motion to reargue, vacating the Court’s prior order, granting Plaintiff’s motion for

              default judgment against Defendant, and directing the submission of a proposed judgment; and

                          WI-IEREAS, the Motion having demonstrated theamount of damages due to Plaintiff; and

                          WHEREAS, Plaintiff having waived costs and disbursements as taxed by the County Clerk

               for this action;

                          NOW, it is

                          ADJUDGED that Plaintiff Refineria di Korsou N.y. having an address of Ara Hill Top

                  Building, Pletterijweg 1, Willemstad, Curaçao does recover of Defendant Petroleos de Venezuela

                  SA. having an address of Edf. Petróleos de Venezuela, Urb. La Campiña, Av. Libertador, Torre

                  Este, Piso 10, Caracas 1060-A, Venezuela, the principal sum of $51,285,172.46, togetherwith pre

              judgment interest at the Prime Rate pIus 500 basis points from the dates on which each invoice

                  specified in the complaint was due through July 31, 2022 amounting to interest in the amount of

        X         $11,054,583.12, amounting in all to the total sum of $62,339,755.58, and that Plaintiff have

                  execution on all amounts therefor.

                          Judgment signed thiday of August 202


                                                                                   J.S.C
                                                                       HON. ANDREA MASLE4


                                                                                                   FILE D
                                                                                               Aug 30 2022
                                                                                              ICOUNTYNEWYORK
                                                                                                                           I
       JUDGMENT                                                                                       CLERK’S OFFICE)

            1-1                        CARTERLEDYARD&MILBURNLLP
                                       28 Liberty St 41st Floor, New
                                                       -

        DOCKETED                                                                                                    2022
                                       York, NY 10005                                        30 th     Aug.
       Aug 30 2022
      N.Y. CO. CLFcS OFFIC5)           (212) 732-3200
                                                                2                                 CLERK
                  11094473,3



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     Case 1:17-mc-00151-LPS Document 564-3 Filed 05/24/23 Page 6 of 6 PageID #: 14794

   All wh we have caused by th                            be exemplified, and the seal                          ol’ur aid
Court for said County to be [
                    WITNESS, I                   :.
           A Justice of o                irt in and for the First Judicial District of said State,
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                                                         OCT 262022
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                                                                                             •1   /            /
                                                                                  ;/?7

                                                                                                                        Clerk.

I,                   I
                                                      • LAURENCEL L&-.
                                                                     a Justice of the Supreme Court
of the State of New Y                          t Judicial District thereof, do hereby certify, that
Milton Adair Tingling,                 is subscribed to the preceding exemplification, is the Clerk
of the County of New York,          lerk of the Supreme Court in and for said County, and that
full faith and credit are due       Ioffjcial acts.

    I FURTHER CERTIFY, th            Seal affixed to said exemplification is the proper Seal of said
Court of said County, and t          attestation thereof is in due form of law and by the proper
officer.
           WITNESS my hand           Borough of Manhattan,this                    ÜCT 262022
                 day of                                     in the year 20




                                             Justice of the Suprep(e Court of the State of New York
                                               in and for the First Judicial District.

                                                              HON.            UReJCE L. L@j


STATE OF NEW YORK} s
  County of New York,

I, Milton Adair Tingling,            the County of New York, and also of the Supreme Court of
said County in and for            t Judicial District of said State (said Court being a Court of
Record), do hereby cell           t Hon.         N.        RiCE L                         whose
name is subscribed to                 ing certificate, is a Justice of the Supreme Court of said State
in and for the First Jud         strict, duly elected and sworn, and that the signature of said
Justice to said Certific              line.

      IN TESTIMONY               DF, I have hereunto set my hand and affixed the Seal of said County
and Court, this                        day of                                in the year 20

                                                                   •1
                                                                        k2
                                                                        ?j,              .
                                                                                             1’/  .

                                                                    ,. J/’7                               ;,   I
                                                                                                                    I
                                                                                                                        Clerk.
